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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                         Case No. 3:19-md-2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to:                     Judge M. Casey Rodgers
                                               Magistrate Judge Hope T. Cannon
 Alcorn, Case No. 7:20-cv-57916;
 Aparicio, Case No. 7:20-cv-19528;
 Cline, Case No. 7:20-cv-48703;
 Frei, Case No. 7:20-cv-11506;
 Hellin, Case No. 3:19-cv-02395;
 Medley, Case No. 7:20-cv-20730;
 Moss, Case No. 7:20-cv-34822;
 Musselman, Case No. 7:20-cv-22842;
 Northern, Case No. 7:20-cv-64557;
 Panaitov, Case No. 7:20-cv-12722;
 Shenian, Case No. 7:20-cv-20925;
 Tamam, Case No. 7:20-cv-48133;
 Torres Mantilla, Case No. 8:20-cv-31071

                          MOTION TO LIFT STAY
                    AS TO CERTAIN WAVE 1 PLAINTIFFS

      On October 27, 2022, the Court issued an order staying, effective immediately,

all Wave 1 cases. Dkt. 3568 at 3. In its Order, the Court stated that it intended to rule

on Wave 1 Plaintiffs’ Motion for Summary Judgment on 3M Company’s Full and

Independent Liability for CAEv2-Related Injuries which was fully briefed, that it

intended to sua sponte certify its decision for interlocutory appeal “given the broad

import and impact of that decision,” and consequently, that a stay would be

implemented to conserve the parties’ and judicial resources. Id. at 2-3. Nevertheless,


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the Court stated that “[a]ny Wave plaintiff who believes successor liability is not at

issue in his or her case, such that the stay should be lifted and the case permitted to

proceed at this time, may file an appropriate motion.” Id. at 3.

      Accordingly, Plaintiffs respectfully move to lift the stay in the following thirteen

(13) cases1 where successor liability is not at issue and litigation against 3M Company

can proceed without any need to wait for resolution of that legal issue:

    (1) Alcorn, Dustin A. (Case No. 7:20-cv-57916-MCR-GRJ)

      Plaintiff Alcorn used the CAEv2 from 2014 to 2015 after Defendant 3M
      Company acquired the Aearo Defendants in 2008 and upstreamed the Aearo
      business to 3M Company in 2010. See Ex. A (Alcorn Dep. at 35:9-36:4).
      Plaintiff Alcorn was also injured by the CAEv2 after Defendant 3M Company
      upstreamed the Aearo business. Plaintiff Alcorn intends to pursue claims solely
      against Defendant 3M Company at trial. Consequently, successor liability is not
      at issue in this case.

    (2) Aparicio, John (Case No. 7:20-cv-19528-MCR-GRJ)

      Plaintiff Aparicio used the CAEv2 from 2011 to 2014 after Defendant 3M
      Company acquired the Aearo Defendants in 2008 and upstreamed the Aearo
      business to 3M Company in 2010. See Ex. B (Aparicio Dep. at 84:6-14).
      Plaintiff Aparicio was also injured by the CAEv2 after Defendant 3M Company
      upstreamed the Aearo business. Plaintiff Aparicio has dismissed his claims
      against the Aearo Defendants and intends to pursue claims solely against
      Defendant 3M Company at trial. Aparicio, Dkt. 27. Consequently, successor
      liability is not at issue in this case.




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 These cases are not intended to serve as a comprehensive list of all Wave 1 cases
where successor liability is not at issue. Plaintiffs reserve the right to file additional
motions for relief from stay, as necessary, on behalf of any other Wave 1 plaintiff or
any other plaintiff.
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(3) Cline, Michael (Case No. 7:20-cv-48703-MCR-GRJ)

   Plaintiff Cline used the CAEv2 from 2009 to 2014 after Defendant 3M
   Company acquired the Aearo Defendants in 2008. See Ex. C (Cline Dep. at
   104:8-16). Plaintiff Cline was also injured by the CAEv2 after Defendant 3M
   Company acquired the Aearo Defendants in 2008. Plaintiff Cline intends to
   pursue claims solely against Defendant 3M Company at trial. Consequently,
   successor liability is not at issue in this case.

(4) Frei, Nathan (Case No. 7:20-cv-11506-MCR-GRJ)

   Plaintiff Frei used the CAEv2 from 2009 to 2014 after Defendant 3M Company
   acquired the Aearo Defendants in 2008. See Ex. D (Frei Dep. at 86:1-11).
   Plaintiff Frei was also injured by the CAEv2 after Defendant 3M Company
   acquired the Aearo Defendants in 2008. Plaintiff Frei has dismissed his claims
   against the Aearo Defendants and intends to pursue claims solely against
   Defendant 3M Company at trial. Frei, Dkt. 32. Consequently, successor liability
   is not at issue in this case.

(5) Hellin, Robert (Case No. 3:19-cv-02395-MCR-GRJ)

   Plaintiff Hellin used the CAEv2 from 2009 to 2012 after Defendant 3M
   Company acquired the Aearo Defendants in 2008. See Ex. E (Hellin Dep. at
   60:13-61:3, 63:16-65:7). Plaintiff Hellin was also injured by the CAEv2 after
   Defendant 3M Company acquired the Aearo Defendants in 2008. Plaintiff
   Hellin has dismissed his claims against the Aearo Defendants and intends to
   pursue claims solely against Defendant 3M Company at trial. Hellin, Dkt. 25.
   Consequently, successor liability is not at issue in this case.

(6) Medley, Brian L. (Case No. 7:20-cv-20730-MCR-GRJ)
    Plaintiff Medley used the CAEv2 from 2010 to 2015 after Defendant 3M
    Company acquired the Aearo Defendants in 2008 and upstreamed the Aearo
    business to 3M Company in 2010. See Ex. F (Medley Dep. at 40:13-24, 60:11-
    61:2, 74:16-75:20). Plaintiff Medley was also injured by the CAEv2 after
    Defendant 3M Company acquired the Aearo Defendants in 2008 and
    upstreamed the Aearo business to 3M Company in 2010. Plaintiff Medley has
    dismissed his claims against the Aearo Defendants and intends to pursue claims
    solely against Defendant 3M Company at trial. Medley, Dkt. 28. Consequently,
    successor liability is not at issue in this case.



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(7) Moss, Joshua (Case No. 7:20-cv-34822-MCR-GRJ)

   Plaintiff Moss used the CAEv2 from 2011 to 2015 after Defendant 3M
   Company acquired the Aearo Defendants in 2008 and upstreamed the Aearo
   business to 3M Company in 2010. See Ex. G (Moss Dep. at 9:7-10, 12:16-13:8,
   20:19-21:21). Plaintiff Moss was also injured by the CAEv2 after Defendant
   3M upstreamed the Aearo business. Plaintiff Moss intends to pursue claims
   solely against Defendant 3M Company at trial. Consequently, successor
   liability is not at issue in this case.

(8) Musselman, Barry James (Case No. 7:20-cv-22842-MCR-GRJ)

   Plaintiff Musselman used the CAEv2 from September 2008 to September 2012
   after Defendant 3M Company acquired the Aearo Defendants in 2008. See Ex.
   H (Musselman Dep. at 54:11-21). Plaintiff Musselman was also injured by the
   CAEv2 after Defendant 3M Company acquired the Aearo Defendants in 2008.
   Plaintiff Musselman intends to pursue claims solely against Defendant 3M
   Company at trial. Consequently, successor liability is not at issue in this case.

(9) Northern, Justin (Case No. 7:20-cv-64557-MCR-GRJ)

   Plaintiff Northern used the CAEv2 from 2011 to 2015 after Defendant 3M
   Company acquired the Aearo Defendants in 2008 and upstreamed the Aearo
   business to 3M Company in 2010. See Ex. I (Northern Dep. at 143:19-144:5).
   Plaintiff Northern was also injured by the CAEv2 after Defendant 3M
   Company upstreamed the Aearo business. Plaintiff Northern intends to pursue
   claims solely against Defendant 3M Company at trial. Consequently, successor
   liability is not at issue in this case.

(10) Panaitov, Gloria E. (Case No. 7:20-cv-12722-MCR-GRJ)

   Plaintiff Panaitov used the CAEv2 from 2009 to 2010 after Defendant 3M
   Company acquired the Aearo Defendants in 2008. See Ex. J (Panaitov Dep. at
   28:6-15). Plaintiff Panaitov was also injured by the CAEv2 after Defendant 3M
   Company acquired the Aearo Defendants in 2008. Plaintiff Panaitov has
   dismissed his claims against the Aearo Defendants and intends to pursue claims
   solely against Defendant 3M Company at trial. Panaitov, Dkt. 38.
   Consequently, successor liability is not at issue in this case.




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   (11) Shenian, Jonathan S. (Case No. 7:20-cv-20925-MCR-GRJ)

       Plaintiff Shenian used the CAEv2 from 2008 to 2014 after Defendant 3M
       Company acquired the Aearo Defendants in 2008. See Ex. K (Shenian Dep. at
       11:8-13). Plaintiff Shenian was also injured by the CAEv2 after Defendant 3M
       Company acquired the Aearo Defendants in 2008. Plaintiff Shenian has
       dismissed his claims against the Aearo Defendants and intends to pursue claims
       solely against Defendant 3M Company at trial. Shenian, Dkt. 28.
       Consequently, successor liability is not at issue in this case.

   (12) Tamam, Ahmed (Case No. 7:20-cv-48133-MCR-GRJ)

       Plaintiff Tamam used the CAEv2 from 2010 to 2015 after Defendant 3M
       Company acquired the Aearo Defendants in 2008 and upstreamed the Aearo
       business to 3M Company in 2010. See Ex. L (Tamam Dep. at 25:22-26:1, 28:9-
       15, 46:7-16). Plaintiff Tamam was also injured by the CAEv2 after Defendant
       3M Company acquired the Aearo Defendants in 2008 and upstreamed the
       Aearo business to 3M Company in 2010. Plaintiff Tamam intends to pursue
       claims solely against Defendant 3M Company at trial. Consequently, successor
       liability is not at issue in this case.

   (13) Torres Mantilla, Misael (Case No. 8:20-cv-31071-MCR-GRJ)

       Plaintiff Torres Mantilla used the CAEv2 from 2008 to 2014 after Defendant
       3M Company acquired the Aearo Defendants in 2008. See Ex. M (Torres
       Mantilla Dep. at 16:5-8, 36:2-37:4). Plaintiff Torres Mantilla was also injured
       by the CAEv2 after Defendant 3M Company acquired the Aearo Defendants
       in 2008. Plaintiff Torres Mantilla intends to pursue claims solely against
       Defendant 3M Company at trial. Consequently, successor liability is not at
       issue in this case.

      Each of the foregoing Plaintiffs seeks to pursue claims exclusively against

Defendant 3M Company based upon Defendant 3M Company’s own independent

actions and omissions with respect to the CAEv2, which actions and omissions caused

Plaintiffs’ auditory injuries. The foregoing Plaintiffs are not pursuing claims against

Defendant 3M Company based upon successor liability. Because successor liability is


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not at issue in any of the above-referenced cases, Plaintiffs respectfully move the Court

to lift the stay in these respective cases so these cases can proceed through the MDL

process and, at an appropriate juncture, be remanded for trial.


Date: November 23, 2022                 Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE
                        WITH LOCAL RULE 7.1(B), (C)

      Pursuant to Local Rule 7.1(B), counsel for Plaintiffs certify that prior to filing

the present motion, they attempted to conference with counsel for Defendant

concerning the relief sought herein but were unable to reach agreement. Plaintiffs’

Leadership initially indicated on November 1, 2022, that individual cases may seek

relief from the Remand Wave stay order; this was repeated on a subsequent conference

call on November 8, 2022. Plaintiffs’ counsel reached out by phone and email on

November 22, 2022, indicating they would be filing this motion before close of

business on November 23, 2022. Counsel for 3M responded and requested additional

Plaintiff specific-details and inquired about the scope of relief requested. Plaintiffs’

Counsel immediately provided this information. When Plaintiffs’ Leadership reached

out to again confirm Defendant’s agreement or opposition on November 23, 2022,

while reiterating their intent to file before close of business, Defendant indicated they

were unable to respond as to whether or not they opposed the relief requested herein.


                                        /s/ Bryan F. Aylstock




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                   CERTIFICATE OF COMPLIANCE
                     WITH LOCAL RULE 7.1(F)

     I hereby certify that this motion complies with Local Rule 7.1(F) and contains

1,433 words.


                                     /s/ Bryan F. Aylstock




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 23, 2022, I caused a copy of the foregoing to

be filed through the Court’s CM/ECF system, which will serve all counsel of record.


                                      /s/ Bryan F. Aylstock




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